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UNITED STATES DISTRICT COURT

EASTERN DISTR.ICT OF LOUISIANA

JOSHUA ADAMS AND KRISTIN ADAMS,
INDIV]])UALLY AND ON BEHALF OF
THEIR MINOR CH]LDREN, KRIST]N
NICOLE ADAMS AND BRAXTON
O’NEAL ADAl\‘IS

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2
oCCUPATIONAL MEDICINE sEvacEs, *
L.L.C., LENNY A. FoLsE, N.P. AND *
RoBERT w. I)AVIS,M.D. *

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mG.

COMPLAIN'I` FOR DAMAGES AND 'I`RIAL BY JURY

 

NOW INTO COURT, through undersigned counsel, come plaintiffs Joshua Adams and

Kristin Adams, persons of the full age of majority and residents of the State of Mississippi,

County of Pike, residing at 2140 Spencer road, Magnolia Mississippi 39652, individually and on

behalf of their minor children, Kristin Nicole Adams and Braxton O'Neal Adams, who

respectfully represent the following

Made defendants herein are:

1, Occupational Medicine Services, L.L.C., a Louisiana limited liability
corporation, having its principle place of business at 895 Verret Street, Houma,"
Louisiana, authon`zed to do and doing business in the State of Louisiana and
within the jurisdiction of this Honorable Court which at all perti ent times

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engaged in providing medical services within the meaning and intent of LSA-»R.S.
4051299 er seq.

2. Lenny A. Folse, N.P., a major and resident of Houma, Terrebonne Parish,
Loui siana, a physician’s assistant and/or nurse practitioner performing such duties
within the State of Louisiana and the jurisdiction of this I-Ionorable Court.

3. Robert W. Davis, M.D., a major and resident of Houma, Terrebonne Pan`sh,
Louisiana, who at all times pertinent hereto engaged in the practice of medicine
within the Parish of Terrebonne, State of Louisiana.

]1.

Jurisdiction is based upon diversity of citizenship pursuant to 28 U.S.C. § 1332(a). The
amount in controversy exceeds, exclusive of interest and costs, the sum of Seventy Five
Thousand Dollars ($75,000.00).

[[[.

Defendants are liable to plaintiffs jointly, severally and in solido for such damages as are
deemed reasonable in the premises together with legal interest thereon, plus all costs of these
proceedings for the following, to-wit:

IV.

On or about July 8-, 2005, your petitioner, Joshua Adams, filed with the Commissioner of
Administration a Request for Medical Review Panel as to the health care provider defendants
herein.

V.

On or about December 5, 2007, the Medical Review Panel rendered its written opinion

flnding, unanimously, as follows:

The Medical Review Panel, composed of the undersigned, having
reviewed the evidence submitted by the parties, given notice to the parties with
reference to their right to convene the panel for questioning having made the

 

 

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evidence available to the parties and having met in consideration of same, the
panel renders the following expert opinion.

1.

The evidence supports the conclusion that the defendant, Lenny Folse,
failed to comply with the appropriate standard of care as alleged.

2.
The breach of the standard of care contributed to the resultant damages
3.

As to the allegations against defendant, Dr. Robert Davis, there is a
material issue of fact, not requiring expert opinion, bearing on liability for
consideration by the court.

4.

The evidence does not support the conclusion that the defendants,
OCcupational Medicine Service, L.L.C. and Dr. John P, Sweeney, failed to meet
the applicable standard of care as alleged.

VI.

On July 13, 2004, your petitioner, Joshua Adams, then age 28 and married presented to
defendant, Occupational Medicine Services, L.L.C, (hereinafter referred to as “OMS”) and its
employee, defendant, Lenny Folse, N.P., then either a physician’s assistant or nurse practitioner,
at its clinic at 895 Verret Street, Houma, Louisiana.

VI].
Defendant, Lenny Folse, N.P, was alone on duty at the time but upon information and

belief, was under the supervision and direction of defendant, Robert~Davis, M,D. and was at all

pertinent times acting within the course and scope of his employment andfor as an agent of

and/or for the benefit and furtherance of the businessfprofessional interest of defendants OMS

 

 

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and/or Robert Davis, M.D.
VIII.

At presentation1 petitioner gave a history of feeling a pulUstrain in his right testicle while
“pulling slips” en an offshore oil platforrn; he further related that he felt his right testicle pull up
into his scrotal sac and that while his right testicle had descended somewhat, he continued to
have pain in his right testicle and lower abdomen.

IX.

On examination the right testicle was palpable but not descended into the scrotal sac;
there was pain with palpation of the right testicle; the “diagnosis” reflected on the OMS record is
right groin strain.

X.

No ultrasound was performed or ordered nor was there an immediate referral or transfer
to a urologist; the OMS record does not reflect that the patient’s legs were elevated or that an ice
pack was applied; nor does it appear that the patient was observed for any period of time to see if
the pain would subside.

XI.

Plaintiff was released to regular duty but was to minimize excessive lifting and squatting
for 2-3 days; he was instructed ami-inflammatory as needed for pain, ice pack to groin for the
next 24-48 hours and if the testicle did not descend, he was to return to the OMS clinic

X]I.
Plaintiff was taken by his employer to a nearby motel where his pain continued to an

extent that by 9:00 a.m. the next morning, plaintiff insisted on being taken to any emergency

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room. OMS was notified and an appointment was made with an urologist for 1100 p.m. on July
14,_ 2004. This was some twenty (20) hours after petitioner first presented to OMS.
XI[[.

Upon evaluation by the urologist and the performance of an ultrasound it was
immediately determined that there was torsion of the right testicle with its consequent decreased '
blood flow This plus the severe pain required immediate exploration and fixation;
unfortunately, the damage had been done and notwithstanding the efforts of several urologists
over a several month period, plaintiffs right testicle had to be surgically removed; before the
ultimate removal of plaintiffs right testicle, he suffered and endured many months of intense
pain, painful treatment and surgery and great emotional distress and fear.

XIV.

Defendants, Robert Davis, M.D,, OMS and Lenny Folse, N.P,, deviated nom the
applicable standards of care and were professionally negligent in the following non-exclusive
particulars:

l, The history, symptoms and signs at the initial presentation was
presumptively diagnostic of a testicle under torsion er, at the very least,
created a high index of suspicion therefore Yet this critical diagnosis
with its limited window of opportunity was completely missed.

2. Given the history, symptoms and signs consistent with, if not
presumptively diagnostic of a testicle under torsion it was below the
standard of care not to immediately refer petitioner to an urologist or
immediately arrange for and obtained an ultrasound.

3. It was below the stande of care to release the patient with instructions to
return in twenty-four (24) hours if the pain persists. The “window of

opportunity” to save a testicle under torsion would likely have passed by
that time.

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4. OMS and Robert Davis, M.D. were negligent in and/or deviated from
applicable standards of care in the hiring, training and supervision of
defendant, Lenny Folse, N.P. andfor negligent in failing to have adequate
guidelines for its employees such as Lenny Folse, N,P. as to what to do
when presented with a situation such as that described herein above..

5. In all other ways which may be shown upon the trial of` this matter.

XV.

At all pertinent times, defendants, Lenny Folse, N.P. and Robert Davis, M.D. were
employees, agents and/or otherwise acting for and in the interest and benefit of defendant, OMS,
so as to make defendant, OMS, vicariously liable for the fault of defendants Lenny Folse, N.P.
and Robert Davis, M.D, under principles of respondeat superior as well as in solido liability

XVI.

As a direct result, proximate cause, cause-in-fact and legal cause of the omissions and/or
commissions and deviations from applicable standards of care of defendants herein, plaintif`f,
Joshua Adarns, has been caused to suffer severe physical pain and keen mental anguish; he has
been disabled iiom work and handicapped in his other activities; he has lost sums of money he
otherwise would have earned; his residuals are permanent and put him at risk for even greater
loss; he has lost enjoyment of life’s pleasures; all of which is to his loss and damage in sums
deemed reasonable in the premises

XV]I.

Plaintiff asserts that LSA-R.S. 40:1299, 47 et seq. and all related statutes, including

specifically, but not limited to the $500,000.00 cap on damages and other limitations of liability

of health care procedures are unconstitutional and invalid and plaintiff reserves all rights to

challenge such constitutionality, validity and enforcement of these statutesl Plaintiff in the

 

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statutorily mandated medical review panel process did not waive or abandon such rights
XVIII.

As a result of the above-described incident and the consequences flowing therefi'om,
plaintiffs Kristin Adams, individually and on behalf of their minor children, Kristin Nicole
Adams and Braxton O’Neal Adams, as the wife and children of Joshua Adams have been caused
to lose or have a dimension of the services society and other losses of consortium for which
losses they are entitled to such damages as may be deemed reasonable in the premises

X]X.

Plaintiff`s request trial by jury on all issues

WHEREFORE, plaintiffs Joshua Adams and Kristin Adams, individually and on behalf
of their minor children, Kristin Nicole Adams and Braxton O’Neal Adams, pray that defendants
Occupational Medicine Services, L.L.C., Lenny Folse, N,P. and Robert Davis, M,D. be served
with a copy of this Cornplaint and that after all legal delays and due proceedings had, there be
judgment herein in favor plaintiffs and against defendants jointly, severally and fn solido in
amounts deemed reasonable in the premises, together with legal interest thereon from date of the

filing of the Request for Medical Review Panel until paid, for all costs of these proceedings and

 

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for all general and equitable relief as the law and nature of this case may warrant and for trial by

jury on all issues

Respectfiilly submitted,

THE GLORIOSO LAW FIRM

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